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                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division

UNITED STATES OF AMERICA, et al.,              )
                                               )
       Plaintiffs,                             )
                                               )
       v.                                      )    Civil Action No. 1:04-cv01136-LMB
                                               )
MIRANT POTOMAC RIVER, et al.,                  )
                                               )
       Defendants.                             )
                                               )

                                  APPEARANCE OF COUNSEL

      To:     The clerk and all parties of record

      I am admitted or otherwise authorized to practice in this court, and I appear in this case as

      counsel for the United States.

Dated: November 5, 2020


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                                       By:
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on the 5th day of November, 2020, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system. In addition, I certify that copies are
being served on the following counsel for the parties:


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and Mirant Potomac River, LLC:
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